Case 1:19-cv-09439-PKC Document 72-16 Filed 01/15/20 Page 1 of 5




          Exhibit JX16
                 Case 1:19-cv-09439-PKC Document 72-16 Filed 01/15/20 Page 2 of 5




                                                               Annex A
                                                              KYC Form

        1.       Name of Purchaser:

        2.       Primary Contact Person:

                                    Name:

                                    Telephone:

                                    Facsimile:

                                    Email:

        3.       Principal Place of Business (for entities):

        4.       Purchaser's Taxpayer EIN / SSN or Equivalent Taxpayer Identification Number:

        5.       Type of Purchaser (e.g., individual, partnership, joint ownership, corporation, trust, limited
                 liability company):

        6.       Date of Birth (for individuals):

        7.       Date of Formation or Inception (for entities):

        8.       Jurisdiction of Formation or Inception (for entities):

        9.       Physical Address of Purchaser:



        10.      Is the Purchaser, or any person with a 25% or greater direct or indirect beneficial ownership
                 interest in the Purchaser, a senior foreign political figure,' or any immediate family member2 or
                 close associate' of a senior foreign political figure (a "politically exposed person")?

                                                   Yes                       No



                  A "senior foreign political figure" is defined as a senior official in the executive, legislative, administrative,
        military or judicial branches of a non-U.S. government (whether elected or not), a senior official of a major non-U.S.
        political party, or a senior executive of a non-U.S. government-owned corporation. In addition, a "senior foreign
        political figure" includes any corporation, business or other entity that has been formed by, or for the benefit of, a
        senior foreign political figure.
        2
                 "Immediate family" of a senior foreign political figure typically includes the figure's parents, siblings,
        spouse, children and in-laws.
                A "close associate" of a senior foreign political figure is a person who is widely and publicly known to
        maintain an unusually close relationship with the senior foreign political figure, and includes a person who is in a
        position to conduct substantial U.S. and non-U.S. financial transactions on behalf of the senior foreign political
        figure.



        CONFIDENTIAL
                                                                                                                          Page 4 of 8




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                            TLGRM-007-00004032
               Case 1:19-cv-09439-PKC Document 72-16 Filed 01/15/20 Page 3 of 5



               If yes,     which   government                          , what position in the government
                                   and, if an immediate family member or close associate of a politically exposed
               person, what relationship to the politically exposed person

        11.    Verification of Identity Requirements:

               A.      Purchasers who are natural persons must provide a certified copy of a valid, government-
               issued photo identification card, such as a driver's license or passport;

               B.      Purchasers other than natural persons (such as corporations, partnerships and trusts) must
               provide:

                         (1)      a document evidencing legal existence of the entity such as a certified copy of
                         articles of incorporation, a government issued business license, partnership agreement or
                         trust instrument; and

                         (2)     a certified copy of a valid, government-issued photo identification card such as a
                         driver's license or passport for at least one of the following: (i) a director of the entity;
                         (ii) persons with 25% or more ultimate beneficial ownership of the entity; (iii) a
                         partner/member of the entity; or (iv) a managing executive of the entity.

        12.    If the Purchaser is a legal entity, please list all directors below.




        13.    If the Purchaser is a legal entity, please provide a short statement on the nature of the business.




        CONFIDENTIAL
                                                                                                             Page 5 of 8




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                TLGRM-007-00004033
                Case 1:19-cv-09439-PKC Document 72-16 Filed 01/15/20 Page 4 of 5



        14.    If the Purchaser is a legal entity other than a trust, please complete the table below and provide
               the name of (i) every person who is directly, or indirectly through intermediaries, the beneficial
               owner of 25% or more of any voting or non-voting class of equity interests of the Purchaser and
               (ii) at least one person with significant responsibility to control, manage or direct the Purchaser
               (e.g., a Chief Executive Officer, Vice President, or Treasurer). As for (i), if the Purchaser's
               shareholders or partners are not individuals, continue up the chain of ownership listing their 25%
               or more equity interest holders until individuals are listed. If there are no 25% beneficial owners,
               please write - None."


                                                  If Purchaser is an Individual,
                                                                                       Citizenship (for Individuals) or
                                                   Insert Name and Address of
                   Full Name                                                           Principal Place of Business (for
                                                       Principal Employer
                                                                                                   Entities)
                                                           and Position




        15.    If the Purchaser is a trust, please provide the name of: (i) every current beneficiary that has,
               directly or indirectly, an interest of 25% or more in the trust; (ii) every person who contributed
               assets to the trust (settlors or grantors); and (iii) every trustee. If there are intermediaries that are
               not individuals, continue up the chain of ownership listing their 25% or more equity interest
               holders until individuals are listed.

                                                                                       Citizenship (for Individuals) or
                                                             Status
              Full Name and Address                                                    Principal Place of Business (for
                                                  (Beneficiary/Settlor/Trustee)
                                                                                                   Entities)




        CONFIDENTIAL
                                                                                                                 Page 6 of 8




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                                   TLGRM-007-00004034
               Case 1:19-cv-09439-PKC Document 72-16 Filed 01/15/20 Page 5 of 5




        16.    Has the Purchaser received any criminal convictions or civil penalties for economic crimes,
               including but not limited to, money laundering or any violations of Money Laundering Laws (as
               defined in the Purchase Agreement), violations of Sanctions (as defined in the Purchase
               Agreement), corruption, fraud or tax evasion, at any time during the last ten years? If yes, please
               provide details:




        17.    Briefly describe the source of the funds to be used for the purchase of Grams. Include, if
               applicable, the name and account number of the bank or brokerage account from which you will
               be wiring funds for the purchase of Grams.




        NOTE: THE ISSUER MAY, IN ITS SOLE DISCRETION, REQUEST AND MAINTAIN COPIES
        OF BANK OR BROKERAGE STATEMENTS FROM YOU DOCUMENTING THE SOURCE OF
        FUNDS USED FOR THE PURCHASE OF GRAMS.

        NOTE: THE ISSUER, AT ITS SOLE DISCRETION, MAY REQUEST ADDITIONAL KYC
        INFORMATION IN ORDER TO COMPLY WITH APPLICABLE MONEY LAUNDERING
        LAWS.




        CONFIDENTIAL
                                                                                                           Page 7 of 8




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                                              TLGRM-007-00004035
